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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

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SELINA XINICO TOL,                                               :
                                                                 :
                                     Plaintiff,                  :   SCHEDULING ORDER
                                                                 :
                           -against-                             :   22-cv-03474 (AMD)(PK)
                                                                 :
DIGITAL DIRECT AND MORE INC.,                                    :
DAVID CAMEO,                                                     :
                                                                 :
                                     Defendants.                 :
                                                                 :
                                                                 :
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Peggy Kuo, United States Magistrate Judge:

         A status conference is scheduled by telephone for October 25, 2022 at 11:00 am. The parties

are directed to call toll free (877) 336-1274 and input the access code 1453850 at the time of the

hearing. No additional security code is needed. Once all parties are on the line, the call will be

connected. (The parties are reminded that, pursuant to Local Civil Rule 1.8, they may not

independently record any court proceedings. A transcript of the proceedings may be ordered from the

Clerk's Office.) Defendants Digital Direct and More Inc. and David Cameo are directed to

appear at this conference. Failure to appear at the conference may lead to the defendants

being found in default.

         The Clerk of the Court is respectfully requested to mail a copy of this notice and the full

docket to:

              •   Digital Direct and More Inc. – 1502 E 2nd Street, Brooklyn, New York 11230
              •   David Cameo - 1502 E 2nd Street, Brooklyn, New York 11230




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                                   SO ORDERED:


                                    Peggy Kuo
                                   PEGGY KUO
                                   United States Magistrate Judge

Dated:   Brooklyn, New York
         September 8, 2022



Plaintiff’s Counsel via ECF:

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